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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

HARRY CHESSHER                                  §
                                                §
       Plaintiff,                               §
                                                §     CIVIL ACTION NO. ______________
VS                                              §
                                                §
XL SPECIALTY INSURANCE                          §
COMPANY                                         §
                                                §
       Defendant.                               §

                                   NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332 and 1441, Defendant, XL

Specialty Insurance Company (“Defendant”), hereby gives notice that the above-captioned

action pending in the 163rd Judicial District Court of Orange County, Texas is hereby removed to

the United States District Court for the Eastern District of Texas – Beaumont Division. In

support of removal, Defendant states the following:

                                   STATE COURT ACTION

       1.      On or about September 14, 2016, Plaintiff, Harry Chessher (“Plaintiff”), filed an

action against Defendant in the 163rd Judicial District Court of Orange County, Texas styled

Harry Chessher v. XL Specialty Insurance Company with Cause Number B160275-C (the “State

Court Action”). A copy of Plaintiff’s Original Petition filed in the State Court Action is attached

herein as Exhibit A.

       2.      No responsive pleadings have been filed by Defendant in the State Court Action,

and Defendant will timely file its Answer to Plaintiff’s Original Petition with this Court in

compliance with FED. R. CIV. P. 81(c).




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                          JURISDICTIONAL BASIS FOR REMOVAL

       3.      On information and belief, Plaintiff resides in Orange County, Texas and is a

citizen of the State of Texas.

       4.      Defendant is a foreign corporation organized under the laws of the State of

Delaware, with its principal place of business in Stamford, Connecticut.

       5.      Plaintiff alleges that the amount in controversy is in excess of $200,000.

       6.      This Court has original jurisdiction over this case pursuant to 28 U.S.C. §§ 1332

and 1441(a).

                            VENUE IS PROPER IN THIS COURT

       7.      The United States District Court for the Eastern District of Texas – Beaumont

Division embraces the county in which the State Court Action was filed. Accordingly, this case

is properly removed to this Court under 28 U.S.C. § 1446(a).

                                    REMOVAL IS TIMELY

       8.      Defendant first received a copy of the Original Petition when it was served on

September 20, 2016. This Notice of Removal is thus filed within 30 days of the first receipt of

the initial pleading setting forth the claim for relief upon which this proceeding is based.

                                       OTHER MATTERS

       9.      Written notice of the filing of this Notice of Removal will be given to all adverse

parties, as required by the provisions of 28 U.S.C. § 1446(d).

       10.     A true and correct copy of this Notice of Removal will be filed with the District

Clerk for the 163rd Judicial District Court of Orange County, Texas, as required by the provisions

of 28 U.S.C. § 1446(d).




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       11.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule CV-81, copies of all process,

pleadings, and orders signed by the state judge (if any), a copy of the docket sheet, a complete

list of all counsel of record, together with an index of such documents are attached hereto

collectively as Exhibit B.

       WHEREFORE, Defendant, XL Specialty Insurance Company, hereby removes this

action to the United States District Court for the Eastern District of Texas – Beaumont Division.

                                                    Respectfully submitted,

                                                    CHAFFE MCCALL, L.L.P.

                                                      /s/ Ivan M. Rodriguez
                                                    IVAN M. RODRIGUEZ
                                                    Attorney in Charge
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                                                    ATTORNEY FOR DEFENDANT,
                                                    XL SPECIALTY INSURANCE
                                                    COMPANY

OF COUNSEL:

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ATTORNEY FOR DEFENDANT,
XL SPECIALTY INSURANCE COMPANY


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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of October, 2016, a true and correct copy of the
foregoing document was forwarded to all counsel of record in accordance with the Federal Rules
of Civil Procedure, as follows:

       David Bernsen                              Via Facsimile to: 409-212-9411
       Cade Bernsen
       THE BERNSEN LAW FIRM
       420 MLK Jr. Parkway
       Beaumont, Texas 77701


                                                   /s/ Ivan M. Rodriguez
                                                  IVAN M. RODRIGUEZ




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